Case 4:20-cv-00068-RWS-CMC Juan Lozada-Leoni
                            Document  149-11- June 19,12/18/20
                                               Filed   2018    Page 1 of 4 PageID #:
    Job No. 2929355                  3570

  1                        BEFORE THE U.S. DEPARTMENT OF LABOR

  2      In the matter of:                    )

                                              )

  3      JUAN LOZADA-LEONI,                   )

                      Complainant,            )

  4                                           )

         V.                                   ) Case No. 2018-SOX-00004

  5                                           )

         MONEYGRAM INTERNATIONAL,             )

  6                   Respondent.             )

  7

  8       ***************************************************************

  9                                    ORAL DEPOSITION OF

 10                                    JUAN LOZADA-LEONI

 11                                      JUNE 19, 2018

 12                                          VOLUME 2

 13      ***************************************************************

 14           ORAL DEPOSITION OF JUAN LOZADA-LEONI, produced as a witness

 15      at the instance of the Respondent, and duly sworn, was taken in

 16      the above-styled and numbered cause on the 19th day of June,

 17      2018, from 9:59 a.m.        to 3:00 p.m., before AMBER KIRTON, CSR in

 18      and for the State of Texas, reported by machine shorthand, at the

 19      Law Offices of Juan Antonio Lozada, PLLC, 3305 W. Slaughter Lane

 20      #2, Austin, Texas, pursuant to the Federal Rules of Civil

 21      Procedure.

 22

 23

 24

 25

                                                                          Page 1

                                       Veritext Legal Solutions           Exhibit 11
                                            800-336-4000
Case 4:20-cv-00068-RWS-CMC Juan Lozada-Leoni
                            Document  149-11- June 19,12/18/20
                                               Filed   2018    Page 2 of 4 PageID #:
    Job No. 2929355                  3571

  1                          MR. BARCUS:     I didn't even get to finish asking my

  2      question, Mr. Kardell.       Your client interrupted me.          Perhaps if I

  3      could ask the question.

  4                          MR. KARDELL:     Okay.     Okay.    Let's try that.     Why

  5      don't you -- also, let me instruct my client.               If there is a

  6      problem with the manner in which he's asked the question, go

  7      ahead and try to answer it to the best of your ability and then

  8      note the objectionable part of his question as to how he posed

  9      it.

 10            Q.     (BY MR. BARCUS)       Okay.     So in this paragraph we're

 11      looking at that starts, "Okay, it's the same thing with you.                  I

 12      know your heart is in the right place.             You were getting things

 13      done."     Juan Manuel then goes on to give you both positive

 14      feedback and negative feedback on your job performance, correct?

 15            A.     Yes.

 16            Q.     And that's something he did throughout this

 17      conversation.       He told you what you were doing well and he told

 18      you what you could be doing better, correct?

 19            A.     No, that's not correct.

 20            Q.     What's incorrect about that?

 21            A.     I don't think he was very positive until that point.                 I

 22      think I brought it in -- I actually said, wait a second.                  This is

 23      actually the second part of a conversation, okay.               We actually

 24      had a conversation at the very end and I think we have a

 25      transcription of this.       I told him I don't think this formula is

                                                                                   Page 41

                                      Veritext Legal Solutions                      Exhibit 11
                                           800-336-4000
Case 4:20-cv-00068-RWS-CMC Juan Lozada-Leoni
                            Document  149-11- June 19,12/18/20
                                               Filed   2018    Page 3 of 4 PageID #:
    Job No. 2929355                  3572

  1                       BEFORE THE U.S. DEPARTMENT OF LABOR
  2      In the Matter of:
  3      JUAN LOZADA-LEONI,                  )
                    Complainant,             )
  4                                          )
                                             )
  5      VS.                                 )Case No.2018-SOX-00004
                                             )
  6                                          )
         MONEYGRAM INTERNATIONAL,      )
  7                 Respondent.              )
  8
  9                               REPORTER'S CERTIFICATION
                                       DEPOSITION OF
 10                                  JUAN LOZADA-LEONI
                                       JUNE 19, 2018
 11
 12            I, AMBER KIRTON, Certified Shorthand Reporter in and for
 13      the State of Texas, hereby certify to the following:
 14            That the witness, JUAN LOZADA-LEONI, was duly sworn by the
 15      officer and that the transcript of the oral deposition is a true
 16      record of the testimony given by the witness:
 17            That the deposition transcript was submitted on
 18      July 13, 2018, to the witness or to the attorney for
 19      Complainant for examination, signature and return to Veritext
 20      Legal Solutions by August 15, 2018;
 21            That the amount of time used by each party at the
 22      deposition is as follows:
 23            Mr. John M. Barcus - 03 hour(s): 35 minute(s)
               Mr. Steve Kardell - 00 hour(s): 00 minute(s)
 24
 25            That pursuant to information given to the deposition

                                                                     Page 122

                                  Veritext Legal Solutions               Exhibit 11
                                       800-336-4000
Case 4:20-cv-00068-RWS-CMC Juan Lozada-Leoni
                            Document  149-11- June 19,12/18/20
                                               Filed   2018    Page 4 of 4 PageID #:
    Job No. 2929355                  3573

  1      officer at the time said testimony was taken, the following
  2      includes all parties of record:
  3            Mr. Steve Kardell, Attorney for Complainant
               Mr. John M. Barcus, Attorney for Respondent
  4
               That __________ is the deposition officer's charges to the
  5
         Respondent for preparing the original deposition transcript and
  6
         any copies of exhibits;
  7
  8            I further certify that I am neither counsel for, related
  9      to, nor employed by any of the parties or attorney in the action
 10      in which this proceeding was taken, and further that I am not
 11      financially or otherwise interested in the outcome of the
         action.
 12                 Certified to by me this 10th day of July, 2018.
 13
 14
                                      <%Signature%>
 15                                   Amber Kirton, CSR
                                      Texas CSR #8110
 16                                   Expiration Date: 12/31/19
                                      Firm Registration No. 571
 17                                   Veritext Legal Solutions
                                      300 Throckmorton Street, Suite 1600
 18                                   Fort Worth, Texas      76102
                                      (817) 336-3042
 19
 20
 21
 22
 23
 24
 25

                                                                     Page 123

                                  Veritext Legal Solutions               Exhibit 11
                                       800-336-4000
